                                                          THE HONORABLE MARY JO HESTON
 1                                                                                     Chapter 13
 2                                                            Date of Hearing: November 20, 2020
                                                                       Time of Hearing: 9:00 a.m.
 3                                                                   Hearing Location: Telephonic
                                                                   Reply Due: November 13, 2020
 4

 5

 6
                          UNITED STATES BANKRUPTCY COURT
 7
                   WESTERN DISTRICT OF WASHINGTON AT TACOMA
 8
 9
     In re                                      Chapter 13
10
     SARAH HOOVER,                              Case No.: 19-42890-MJH
11
                   Debtor.                      Adversary No.: 20-04002-MJH
12

13 SARAH HOOVER,                                DECLARATION OF RYAN S.
                                                MOORE IN SUPPORT OF
14                 Plaintiff,                   DEFENDANTS’ MOTION FOR
                                                SUMMARY JUDGMENT
15           vs.
16 QUALITY LOAN SERVICE
   CORPORATION OF WASHINGTON,
17 PHH MORTGAGE CORPORATION
   D/B/A PHH MORTGAGE SERVICES,
18
   HSBC BANK USA, N.A., AS TRUSTEE
19 OF THE FIELDSTONE MORTGAGE
   INVESTMENT TRUST, SERIES 2006-2,
20 NEWREZ, LLC, AND IH6 PROPERTY
   WASHINGTON, L.P. D/B/A
21 INVITATION HOMES

22                 Defendants.

23

24 / /

25
     //
26
      DECLARATION IN SUPPORT OF DEFENDANTS’                                            HOUSER LLP
      MOTION FOR SUMMARY JUDGMENT                                       600 University St., Ste. 1708
      AP NO. 20-04002-MJH                                                        Seattle, WA 98101
      Page 1                                                                    PH: (206) 596-7838
                                                                              FAX: (206) 596-7839
      Case 20-04002-MJH         Doc 63   Filed 10/16/20    Ent. 10/16/20 21:12:35      Pg. 1 of 40
 1                              DECLARATION OF RYAN S. MOORE

 2           I, Ryan S. Moore, do hereby declare:

 3           1.     I am more than 18 years of age, am competent to make this declaration, and have

 4 personal knowledge of the facts set forth in this declaration.

 5           2.     I am an attorney of record for Defendants PHH Mortgage Corporation D/B/A PHH

 6 Mortgage Services, HSBC Bank USA, N.A., as Trustee of the Fieldstone Mortgage Investment

 7 Trust, Series 2006-2, and NewRez, LLC (collectively, the “Defendants”).

 8           3.     Attached hereto as Exhibit A is a true and correct copy of the Deed of the Property
 9 at issue to Ali Suleiman. This document is publicly available through the Pierce County Recording

10 Office.

11           4.     Attached hereto as Exhibit B is a true and correct copy of the Deed of real property

12 located at 24805 22nd Avenue South, Kent, WA 98032 (“Kent Property”) to Ali Suleiman. This

13 document is publicly available through the King County Recording Office.

14           5.     Attached hereto as Exhibit C is a true and correct copy of the Deed of the Kent

15 Property from Ali Suleiman to the Ali Suleiman Trust. This document is publicly available through

16 the King County Recording Office.

17           6.     Attached hereto as Exhibit D is a true and correct copy of the Deed of real property

18 located at 3435 Auburn Way, South #63, Auburn, WA (“Auburn Property”) to Ali Suleiman. This

19 document is publicly available through the King County Recording Office.

20           7.     Attached hereto as Exhibit E is a true and correct copy of the Deed of the Auburn

21 Property from Ali Suleiman to the Ali Suleiman Trust. This document is publicly available through

22 the King County Recording Office.

23           8.     Attached hereto as Exhibit F is a true and correct copy of the Deed of the Auburn

24 Property from the Ali Suleiman Trust to Mr. and Mrs. Desteunder. This document is publicly

25 available through the King County Recording Office.

26
     DECLARATION IN SUPPORT OF DEFENDANTS’                                                HOUSER LLP
     MOTION FOR SUMMARY JUDGMENT                                           600 University St., Ste. 1708
     AP NO. 20-04002-MJH                                                            Seattle, WA 98101
     Page 2                                                                        PH: (206) 596-7838
                                                                                 FAX: (206) 596-7839
     Case 20-04002-MJH          Doc 63     Filed 10/16/20    Ent. 10/16/20 21:12:35       Pg. 2 of 40
 1         9.      Attached hereto as Exhibit G is a true and correct copy of the Deed of the Kent

 2 Property from the Ali Suleiman Trust to Mr. Wang and Ms. Mayovsky. This document is publicly

 3 available through the King County Recording Office.

 4         10.     Attached hereto as Exhibit H is a true and correct copy of selected excerpts from

 5 Plaintiff Sarah Hoover’s deposition transcript, which was taken on August 18, 2020.

 6         11.     Attached hereto as Exhibit I is a true and correct copy of selected excerpts from

 7 third-party Amir Suleiman’s deposition transcript, which was taken on July 10, 2020.

 8         I declare under penalty of perjury under the laws of the United States of America that the
 9 foregoing is true and correct.

10

11 DATED October 16, 2020, at Kirkland, Washington.

12
                                         HOUSER LLP
13

14                                       s/ Ryan S. Moore
                                         Ryan S. Moore, WSBA No. 50098
15

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26
     DECLARATION IN SUPPORT OF DEFENDANTS’                                              HOUSER LLP
     MOTION FOR SUMMARY JUDGMENT                                         600 University St., Ste. 1708
     AP NO. 20-04002-MJH                                                          Seattle, WA 98101
     Page 3                                                                      PH: (206) 596-7838
                                                                               FAX: (206) 596-7839
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 1                                    CERTIFICATE OF SERVICE
 2          On October 16, 2020, I served the foregoing document(s): DECLARATION OF RYAN
 3 S. MOORE IN SUPPORT OF DEFENDANTS’                 MOTION FOR SUMMARY JUDGMENT, in
   the manner described below:
 4
        Jason D. Anderson                               CM/ECF
 5      Anderson Law of King County, PLLC               UPS Overnight
        787 Maynard Ave S., Suite B                     UPS 2 Day Shipping
 6                                                      Email
        Seattle, WA 98104                               Courier
 7      Jason@alkc.net
        Counsel for Plaintiff/Debtor
 8
        Christina L. Henry                              CM/ECF
 9      Henry & Degraaff, P.S.                          UPS Overnight
        787 Maynard Ave S., Suite B                     UPS 2 Day Shipping
10                                                      Email
        Seattle, WA 98104                               Courier
11      chenry@hdm-legal.com
        Counsel for Plaintiff/Debtor
12
        Joseph W. McIntosh                              CM/ECF
13      McCarthy & Holthus, LLP                         UPS Overnight
        108 1st Ave South, Suite 300                    UPS 2 Day Shipping
14                                                      Email
        Seattle, WA 98104                               Courier
15      jmcintosh@mccarthyholthus.com
        Counsel for Quality Loan Service
16      Corporation of Washington
17        John A. McIntosh                              CM/ECF
          Schweet Linde & Coulson, PLLC                 UPS Overnight
18                                                      UPS 2 Day Shipping
          575 S. Michigan St.                           Email
19        Seattle, WA 98108                             Courier
          johnm@schweetlaw.com
20        Counsel for IH6 Property Washington,
          L.P.
21
            I declare under penalty of perjury under the laws of the United States of America that the
22
     foregoing is true and correct.
23          Dated: October 16, 2020
24
                                                         Rachel M. Perez
25

26
      DECLARATION IN SUPPORT OF DEFENDANTS’                                               HOUSER LLP
      MOTION FOR SUMMARY JUDGMENT                                          600 University St., Ste. 1708
      AP NO. 20-04002-MJH                                                           Seattle, WA 98101
      Page 4                                                                       PH: (206) 596-7838
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                                                            Exhibit A (P. 1 of 1)
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                                                                                                     Exhibit B (P. 1 of 2)
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             Case 20-04002-MJH               Doc 63       Filed 10/16/20         Ent. 10/16/20 21:12:35            Pg. 6 of 40
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                                                                                                     Exhibit B (P. 2 of 2)
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             Case 20-04002-MJH               Doc 63       Filed 10/16/20         Ent. 10/16/20 21:12:35            Pg. 7 of 40
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                                                                                                     Exhibit C (P. 1 of 1)
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                                                                                                     Exhibit F (P. 1 of 3)
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Sarah V. Hoover                                                   August 18, 2020

                                                                              Page 1
                        UNITED STATES BANKRUPTCY COURT
                  WESTERN DISTRICT OF WASHINGTON AT TACOMA
     --------------------------------------------------------
        In re                                   )
        SARAH HOOVER,                           )
                          Debtor.               ) Chapter 13
        SARAH HOOVER,                           ) No. 19-42890-MJH
                         Plaintiff,             ) Adversary No. 20-04002-MJH
             vs.                                )
        QUALITY LOAN SERVICE                    )
        CORPORATION OF WASHINGTON,              )
        PHH MORTGAGE CORPORATION                )
        D/B/A PHH MORTGAGE SERVICES,            )
        HSBC BANK USA, N.A., AS                 )
        TRUSTEE OF THE FIELDSTONE               )
        MORTGAGE INVESTMENT TRUST,              )
        SERIES 2006-2, NEWREZ, LLC,             )
        AND IH6 PROPERTY WASHINGTON,            )
        L.P. D/B/A INVITATION HOMES,            )
                         Defendants.            )
     --------------------------------------------------------
     Zoom Deposition Upon Oral Examination of SARAH V. HOOVER
     --------------------------------------------------------
                           Tuesday, August 18, 2020
        REPORTED BY:     Keri A. Aspelund, RPR, CCR No. 2661


                                                 Exhibit H (P. 1 of 17)
                   SEATTLE DEPOSITION REPORTERS, LLC
www.seadep.com        206.622.6661 * 800.657.1110 FAX: 206.622.6236

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Sarah V. Hoover                                                     August 18, 2020

                                                                              Page 32
  1          Q.       Is that the first time you've ever filed
  2    bankruptcy?
  3          A.       Yes.
  4          Q.       Why did you file bankruptcy?
  5          A.       I was trying to save my house.
  6          Q.       Is there any other reason you filed bankruptcy?
  7          A.       It was to save my house.
  8          Q.       Ms. Hoover, I have sent to your counsel -- we're
  9    going to start getting into the documents now.
 10                   I sent to your counsel, through the court
 11    reporter, 23 exhibits.
 12                   Do you have access to those documents?
 13          A.       Yes.
 14          Q.       Okay.     I'm going to ask you to turn to what
 15    has -- what I'm going to mark and what is listed in here as
 16    document 1, and we'll mark this as Exhibit-1.
 17          A.       Okay.
 18                          (Exhibit-1 marked.)
 19          Q.       Let me know when you're there.
 20                   Are you there?
 21          A.       I'm trying to -- yes.
 22          Q.       Okay.
 23                   MS. HENRY:      Got it?      Okay.
 24          Q.       All right, so I'll note for the record that this
 25    is being marked as Exhibit-1.              It is the Adjustable Rate


                                                Exhibit H (P. 2 of 17)
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Sarah V. Hoover                                                     August 18, 2020

                                                                              Page 36
  1          A.       I don't remember anything like that.
  2          Q.       Okay.     And do you remember who the original
  3    servicer was on this loan?
  4          A.       No.
  5          Q.       It wasn't Ocwen; correct?
  6          A.       No.
  7          Q.       And do you remember for how long you made
  8    payments under this loan initially?
  9          A.       No.
 10          Q.       All right.      Fair to say for a number of years?
 11          A.       Probably, yeah.
 12          Q.       Did you have problems with payment on this loan
 13    before 2018?
 14          A.       With -- with us on the loan on the house?
 15          Q.       Yes.
 16          A.       Yes.
 17          Q.       Okay.     Do you remember about how many times?
 18          A.       No.
 19                   I know once, off the top of my head.
 20          Q.       Do you remember loan modifications that had to
 21    be signed in the past?
 22          A.       Mm-hm.    Yeah.
 23          Q.       And do you remember why those modifications
 24    needed to be signed?
 25                   Was it because you were having difficulty with


                                                Exhibit H (P. 3 of 17)
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Sarah V. Hoover                                                     August 18, 2020

                                                                              Page 37
  1    payments?
  2          A.       Yes.
  3          Q.       And we'll get to those.
  4                   Do you remember if those loan modifications were
  5    signed by you?
  6          A.       I don't remember who signed them.
  7          Q.       Okay.     Let's go to Exhibit -- well, one second.
  8                   I know you testified you don't remember signing
  9    this note.     At any time leading up to this lawsuit, did you
 10    ever review this document, note?
 11          A.       No.
 12          Q.       Okay.     Let's go to Exhibit-2.
 13                          (Exhibit-2 marked.)
 14          Q.       And I'll represent to you that this is the Deed
 15    of Trust in connection with the property at issue.
 16                   Let me know once you're there.
 17          A.       I'm here.
 18          Q.       Okay.     And so this -- sorry.
 19          A.       I didn't say anything.           I just said I was here.
 20          Q.       Okay.     So this document is -- for the record,
 21    it's listed -- this is going to be Exhibit-2.                   It's listed
 22    Bates range Defendant 1932 through 1954.
 23                   And Ms. Hoover, if you turn to -- on the PDF
 24    it's page 14, but on the Bates range it's Defendant 1945,
 25    can you turn your attention there.


                                                 Exhibit H (P. 4 of 17)
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Sarah V. Hoover                                                     August 18, 2020

                                                                              Page 53
  1                   MR. ANDERSON:      How many more family traumas are
  2    we going to go through here?              I really don't think this has
  3    anything to do with the case.
  4                   MR. MOORE:     I'll just mention --
  5                   MR. ANDERSON:      Sarah, are you all right?
  6                   MS. HENRY:     Do you want to take a break?
  7                   THE WITNESS:      Yeah.      I don't like -- I don't
  8    want to -- yeah, I don't like this.               I don't like talking
  9    about my family like that.           I mean --
 10          Q.       My final question on this is have you seen any
 11    therapists since 2011?
 12          A.       No.
 13          Q.       Have you seen any doctors since the start of --
 14    since 2019 -- have you seen any mental health professionals
 15    since 2019?
 16          A.       No.
 17          Q.       Have you seen any regular doctors since 2019?
 18          A.       Yeah.
 19          Q.       With any of those regular doctors, have you
 20    discussed this lawsuit?
 21          A.       No.
 22          Q.       With any of those regular doctors, have you gone
 23    to the doctor's appointment in any way in any connection
 24    relating to this lawsuit?
 25          A.       I -- I don't think so.           I don't know how it


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Sarah V. Hoover                                                     August 18, 2020

                                                                              Page 57
  1    7.
  2                        (Exhibit-7 marked.)
  3          Q.       And Ms. Hoover, I'll represent to you, and take
  4    a chance to look at it, but this is a Notice of Default
  5    signed dated April 9th, 2018, Bates stamped Defendant --
  6                   MS. HENRY:      Just a second.        There's somebody at
  7    our -- I have to step out for just a second.                   Hold on.
  8                   MR. MOORE:      Okay.
  9                        (Brief interruption.)
 10                   MS. HENRY:      Okay, I'm back.
 11                   MR. MOORE:      Okay.
 12                   MS. HENRY:      Sorry.      I'm back.
 13                   MR. MOORE:      Okay, no worries.
 14          Q.       So, Ms. Hoover, I was saying this document is
 15    Bates stamped Defendants 957 through 960, and it appears to
 16    be a Notice of Default letter.
 17                   Have you seen this document before?
 18          A.       I don't remember it exactly.
 19          Q.       Okay.     Do you remember receiving a Notice of
 20    Default in 2018?
 21          A.       I mean, no, I don't remember seeing this
 22    document.
 23          Q.       Okay.     And if you see at the top, it's addressed
 24    to Ali Suleiman.
 25                   Do you see that?


                                                 Exhibit H (P. 6 of 17)
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Sarah V. Hoover                                                      August 18, 2020

                                                                               Page 58
  1          A.       Yeah.
  2          Q.       After you received this letter, did you call
  3    Ocwen and indicate that Mr. Suleiman had passed away?
  4          A.       I don't remember when I notified Ocwen.
  5          Q.       Okay.     And do you dispute that the loan was in
  6    default as of the date of this letter?
  7          A.       No.
  8          Q.       And you didn't make -- do you recall making any
  9    payments on the loan after receiving this letter?
 10          A.       I don't remember receiving this letter, so I
 11    don't know if I did.
 12          Q.       I'll rephrase the question, thank you.
 13                   Do you remember making any payments after the
 14    date of this letter on the loan?
 15          A.       I don't remember what date the last payments I
 16    made were.
 17                   MR. MOORE:      Okay.       Let's go to 18.
 18                   And Keri, can you help me help me out, what the
 19    number for this is.
 20                   THE COURT REPORTER:           This will be number 8.
 21                   MR. MOORE:      Okay, thank you.
 22                         (Exhibit-8 marked.)
 23          Q.       Ms. Hoover, let me know once you're there.
 24          A.       I'm here.
 25          Q.       Okay.     So this is a letter from Ocwen Loan


                                                Exhibit H (P. 7 of 17)
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Sarah V. Hoover                                                     August 18, 2020

                                                                              Page 64
  1          Q.       Okay.     And the next sentence says "We have
  2    updated our records to reflect you as authorized to receive
  3    and discuss information regarding the account."
  4                   Do you see that?
  5          A.       Mm-hm.    Yes, I do.
  6          Q.       Okay.     Do you know if Ocwen sent a letter like
  7    this to your brother?
  8          A.       I have no idea.
  9          Q.       Okay.
 10          A.       I don't know.
 11          Q.       Okay.     I want to go now to the second part of
 12    this exhibit, which is Bates Defendant 1067 through
 13    Defendant 1069, and the first page of that is, it looks
 14    like, a letter, and then it's a letter addressed to you.
 15                   Do you remember receiving this letter?
 16          A.       I don't remember.
 17          Q.       Okay.     Do you see this -- do you remember seeing
 18    this document before you sit here today?
 19          A.       I don't remember.
 20          Q.       Okay.     So if you don't remember the letter, I
 21    guess I probably know the answer to this question, but do
 22    you ever remember if you specifically responded to this
 23    letter?
 24          A.       No, I don't remember.
 25          Q.       Okay.


                                                Exhibit H (P. 8 of 17)
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Sarah V. Hoover                                                     August 18, 2020

                                                                              Page 69
  1    It says "Your temporary password will be the last 6 digits
  2    of your Social Security Number."
  3                   Do you see that?
  4          A.       Mm-hm.
  5          Q.       Did you ever create a password with PHH with
  6    respect to this loan?
  7          A.       I don't remember doing that.
  8          Q.       Okay.     Now, I think you already testified to
  9    this, but just for clarification, you didn't make any
 10    payments on the loan once PHH became the loan servicer; is
 11    that correct?
 12          A.       Correct.
 13                   MR. MOORE:      Let's go to 19, which I'm going to
 14    mark as 12.
 15                        (Exhibit-12 marked.)
 16                   MS. HENRY:      What are you going to do now?
 17                   MR. MOORE:      PDF 19, which is marked -- which I'm
 18    going to mark as 12.
 19          Q.       Let me know once you're there, Ms. Hoover.
 20          A.       I'm here.
 21          Q.       Okay.     And this is a document Bates stamped
 22    Defendant 1247 and dated May 23rd, 2019.
 23                   Have you seen this letter before?
 24          A.       I don't remember.
 25          Q.       Okay.     Any reason you have to think you didn't


                                                Exhibit H (P. 9 of 17)
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                                                                              Page 70
  1    receive this letter, I guess?
  2          A.       What is your question?
  3          Q.       Do you have any reason to believe you didn't
  4    receive this letter?
  5          A.       I -- I mean, no.
  6                   MS. HENRY:      Object, speculation.
  7          A.       I don't know.
  8          Q.       Okay.     This letter goes through a request that
  9    Ocwen receive to complete a transfer package, and it's an
 10    Additional Items Letter, and it gives two options.                     It says
 11    "Please forward the following items to the Assumption
 12    Department:     To assume the loan in the name of the Ali
 13    Suleiman Trust," and then the first bullet asks for the
 14    "Recorded deed transferring title from Ali Suleiman to Ali
 15    Suleiman, trustee of the Ali Suleiman Trust."
 16                   Do you see that?
 17          A.       Mm-hm, I see that.
 18          Q.       And that never -- that deed never occurred;
 19    correct?
 20          A.       Not that I'm aware of.
 21          Q.       Okay.     And do you see that they're asking for a
 22    copy of the Ali Suleiman Trust as well?
 23          A.       Yes.
 24          Q.       Okay.     And what's your understanding -- what is
 25    your understanding as to the first time you provided Ocwen


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                                                                              Page 71
  1    with a copy of the full Ali Suleiman Trust, if you know?
  2            A.     I don't know -- are you asking when?
  3            Q.     Yeah.
  4            A.     I don't know.
  5            Q.     Okay.     Let's go to the second bullet, the second
  6    option.
  7                   Then Ocwen says "To assume the loan
  8    individually," they would require, and the first
  9    requirement is a "Recorded property deed transferring title
 10    from the Estate of Ali Suleiman to Sarah Hoover."
 11                   Do you see that?
 12            A.     Yes.
 13            Q.     And that never occurred; correct?
 14            A.     I don't know.       That's what I was trying to do.
 15            Q.     That's what you were trying to do with Ocwen?
 16            A.     Yes.
 17            Q.     Okay.     But my question's a little bit different.
 18                   You never recorded anything in the land records
 19    indicating that the Ali Suleiman Trust had conveyed the
 20    property to you individually; correct?
 21            A.     No.
 22            Q.     You mean correct?
 23            A.     I mean, yes, I -- I wouldn't know how to do
 24    that.
 25            Q.     Did you have counsel at the time you -- in May


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Sarah V. Hoover                                                     August 18, 2020

                                                                              Page 73
  1          Q.       Okay.     It was after an internet search, or how
  2    did you come to that knowledge?
  3          A.       I don't remember exactly.
  4                   MS. HENRY:      Objection to form.
  5          Q.       And you said it could help; help with what?
  6          A.       Saving my house.
  7                   MR. MOORE:      Let's go to PDF 12, which this will
  8    be -- is this 13 now?
  9                   THE COURT REPORTER:          Yes.
 10                        (Exhibit-13 marked.)
 11          Q.       Ms. Hoover, let me know once you're there.
 12          A.       I'm here.
 13          Q.       So this is a mortgage statement with the due
 14    date -- looks like the statement was generated in June of
 15    2019, and the due date is July 1st, 2019.
 16                   Do you remember receiving this document?
 17          A.       I don't remember.
 18          Q.       Okay.     And it's got an amount due date of
 19    $26,732.42.
 20                   Do you see that?
 21          A.       I see that.
 22          Q.       Were you able to afford to pay that amount to
 23    get this loan out of arrearage?
 24                   MS. HENRY:      Objection to form.
 25          Q.       Go ahead.


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                                                                              Page 74
  1          A.       No.
  2          Q.       Okay.     When did you first learn that this loan
  3    was going to a nonjudicial foreclosure sale?
  4          A.       In May of 2019.
  5          Q.       Okay.     And how did you learn that?
  6          A.       Ocwen, I believe.
  7          Q.       Pardon?
  8          A.       Ocwen.
  9          Q.       Did you contact either of your siblings, either
 10    Amir Suleiman or Sofiah Corcoran, before the foreclosure
 11    sale to tell them what was going on?
 12          A.       I believe so.
 13          Q.       And what did you tell them?
 14          A.       That I was trying to save my house and I wasn't
 15    sure how.
 16          Q.       And did you contact -- and I guess the answer is
 17    no, but I just want to clarify, you didn't contact any
 18    attorneys up and through the foreclosure sale date,
 19    correct, to seek -- to help you with any representation?
 20          A.       I didn't hire anyone.
 21          Q.       Did you contact anyone?
 22          A.       I mean, yeah.
 23          Q.       Who did you --
 24          A.       Well, I tried to.
 25          Q.       Who did you try and contact?


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  1                   When you first spoke with them, did they advise
  2    you to file for bankruptcy?
  3            A.     No, I don't think so.
  4            Q.     So what was the --
  5            A.     They were going to help me with my loan
  6    modification.
  7            Q.     So when Elite Legal Network -- well, let me back
  8    up.
  9                   So Elite Legal Network submitted documents on
 10    your behalf in relation to the loan modification; correct?
 11                   MS. HENRY:      Objection to form.
 12            A.     As far as I know, they did.
 13            Q.     Okay.     Did you hire them in any capacity
 14    relating to your bankruptcy?
 15            A.     No.
 16            Q.     Okay.     This document that we're looking at right
 17    now, if you know, was this submitted as part of the loan
 18    modification materials submitted to PHH in September of
 19    2019?
 20                   MS. HENRY:      Objection to form.
 21            Q.     If you recall?
 22            A.     I did not submit it as part of a loan
 23    modification form.
 24            Q.     I know you didn't, I'm asking if Elite Legal
 25    Network did?


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                                                                             Page 115
  1            A.     I don't know.       I don't remember exactly.             I'm
  2    sure that the -- you know, when you're looking at all of
  3    the options in front of you, you evaluate them all, and I
  4    felt like my options were very limited at that point.
  5            Q.     And just to button it up, so your testimony is
  6    though that that is one of -- collecting the surplus funds
  7    was one option that you considered?
  8            A.     I'm sure I thought about it, but I don't
  9    remember exactly.
 10            Q.     Okay.     Let's go to paragraph 68, which is page
 11    15 of 16.
 12                   Let me know when you're there.
 13            A.     I'm here.
 14            Q.     Okay.     This paragraph alleges that you incurred
 15    significant actual damages, including travel costs to your
 16    attorney's office, actual damages in the form of attorney's
 17    fees.
 18                   And I'd like to ask you, what actual damages
 19    have you incurred as a result of this lawsuit?
 20                   MS. HENRY:      Objection to form.
 21            A.     Like total dollar amount?
 22            Q.     As in --
 23                   MS. HENRY:      Just let me stop for a second.
 24                   Objection to form.          Actual damages, again, a
 25    legal term that she wouldn't have any way of knowing how to


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                                                                             Page 116
  1    answer.
  2                   MR. MOORE:      Are you instructing her not to
  3    answer?
  4                   MS. HENRY:      No, she can answer, but I'm just
  5    saying it's not appropriate to ask her for actual damages.
  6           A.      What does that mean?
  7           Q.      I didn't draft it.
  8           A.      Say that again.
  9           Q.      I didn't draft it.
 10           A.      What does actual damages mean?
 11           Q.      I'm asking you, what are your -- what are your
 12    damages that you're claiming in this lawsuit?
 13                   MS. HENRY:      Objection to form.
 14           Q.      Go ahead.
 15           A.      Can you explain your question to me because I
 16    guess I don't -- my answer is I don't know.
 17           Q.      Okay.     Have you incurred attorney's fees as a
 18    result of this lawsuit?
 19                   MS. HENRY:      Objection to form.
 20           Q.      Go ahead.
 21           A.      I don't know exactly how -- what my total fees
 22    are.
 23           Q.      It's a yes or no question, have you incurred
 24    attorney's fees as a result of this lawsuit?
 25                   MS. HENRY:      Object to form.


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Sarah V. Hoover                                                    August 18, 2020

                                                                            Page 169
  1
                                C-E-R-T-I-F-I-C-A-T-E
  2
  3     STATE OF ARIZONA          )
  4                               )   ss.
  5     COUNTY OF MARICOPA        )
  6
                    I, the undersigned Registered Professional
  7     Reporter and Certified Court Reporter, hereby
        certify that the foregoing deposition upon oral
  8     examination was taken stenographically before me and
        transcribed under my direction;
  9
 10                 That the witness was duly sworn by me,
        pursuant to RCW 5.28.010, to testify truthfully; that the
 11     transcript of the deposition is a full, true, and correct
        transcript to the best of my ability; that I am neither
 12     attorney for, nor a relative or employee of, any of the
        parties to the action or any attorney or counsel employed
 13     by the parties hereto, nor financially interested in its
        outcome.
 14
 15                 I further certify that in accordance with CR
        30(e), the witness was given the opportunity to examine,
 16     read, and sign the deposition, within 30 days, upon its
        completion and submission, unless waiver of signature was
 17     indicated in the record.
 18
                    IN WITNESS WHEREOF, I have hereunto set
 19     my hand this 24th day of August, 2020.
 20
 21
 22
                      __________________________________________
 23
                      NCRA Registered Professional Reporter
 24                   Washington Certified Court Reporter No. 2661
 25


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1                              UNITED STATES BANKRUPTCY COURT

2                         WESTERN DISTRICT OF WASHINGTON AT TACOMA

3       --------------------------------------------------------

4         In re                                        )

5         SARAH HOOVER,                                )

6                                Debtor.               ) Chapter 13

7         SARAH HOOVER,                                ) No. 19-42890-MJH

8                               Plaintiff,             ) Adversary No. 20-04002-MJH

9                   vs.                                )

10        QUALITY LOAN SERVICE                         )

11        CORPORATION OF WASHINGTON,                   )

12        PHH MORTGAGE CORPORATION                     )

13        D/B/A PHH MORTGAGE SERVICES,                 )

14        HSBC BANK USA, N.A., AS                      )

15        TRUSTEE OF THE FIELDSTONE                    )

16        MORTGAGE INVESTMENT TRUST,                   )

17        SERIES 2006-2, NEWREZ, LLC,                  )

18        AND IH6 PROPERTY WASHINGTON,                 )

19        L.P. D/B/A INVITATION HOMES,                 )

20                              Defendants.            )

21      -----------------------------------------------------------

22       Zoom Deposition Upon Oral Examination of AMIR C. SULEIMAN

23      -----------------------------------------------------------

24                                   Friday, July 10, 2020

25        REPORTED BY:          Keri A. Aspelund, RPR, CCR No. 2661

                                       Veritext Legal Solutions      Exhibit I (P. 1 of 7)
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1        now.

2                        Can you provide for the record who your father

3        and mother are.

4                   A.   My father is Ali Suleiman, my mother is Billie

5        Suleiman.

6                   Q.   I'm sorry, the record broke for a second when

7        you said your mother's name.

8                        Can you repeat it, please?

9                   A.   Billie Suleiman.

10                  Q.   How do you spell that?

11                  A.   B-I-L-L-I-E S-U-L-E-I-M-A-N.

12                  Q.   Okay.    And Mr. -- your father, Ali Suleiman, has

13       passed away; correct?

14                  A.   That's correct.

15                  Q.   Okay.    When did he pass away?

16                  A.   It was the end of February of 2015.

17                  Q.   Okay.    And where did he reside at the time he

18       passed away?

19                  A.   In Palembang, Indonesia.

20                  Q.   And how long did he live in Indonesia?

21                  A.   Well, he would travel.           I don't know exactly

22       when he started.         I think maybe around 2004ish or so.

23                  Q.   And from 2004 until the time of his death, did

24       he ever reside in the United States?

25                  A.   Yeah, yeah.      I mean, he would spend time there,

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                                                                            Page 17

1        let me strike that actually.

2                        Did he own the property in Kent, Washington?

3                   A.   Yes.

4                   Q.   Okay.     And do you know when he acquired that

5        property?

6                   A.   Maybe around 2000, 2001.               I'm not sure.

7                   Q.   Okay.     And is that property still in Mr.

8        Suleiman's name?

9                   A.   No.

10                  Q.   What happened to that property?

11                  A.   That property's been sold.

12                  Q.   Okay.     When was it sold?

13                  A.   August of 2017.

14                  Q.   Okay.     And how much did it sell for?

15                  A.   I don't know.

16                  Q.   Were you involved with the -- with the selling

17       of that property?

18                  A.   Yes.     My involvement was cleaning up the

19       property, and you know, fixing it up, and getting it ready

20       for sale.

21                  Q.   Was there any other involvement you had with

22       respect to selling that property?

23                  A.   I mean, I spoke to the agent a few times.

24                  Q.   So you're unaware of the amount that property

25       sold for?

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                                                                            Page 18

1                   A.   I can't recall.

2                   Q.   And where did the money go from that property

3        sale?

4                   A.   It went to me and my sisters.

5                   Q.   Equally?

6                   A.   Yes.

7                   Q.   Okay.    And do you recall about how much each of

8        you received?

9                   A.   I'd say roughly 30,000.

10                  Q.   And how many sisters do you have?

11                  A.   Two.

12                  Q.   And what are their names?

13                  A.   Sarah Hoover, Sofiah Corcoran.

14                  Q.   Where does Sofiah Corcoran reside?

15                  A.   Bartow, Florida.

16                  Q.   How do you spell that first name?

17                  A.   S-O-F-I-A-H.

18                  Q.   I'm sorry, the first name of the town in

19       Florida?

20                  A.   Oh, B-A-R-T-O-W.

21                  Q.   Okay, thank you.

22                       And where does Mrs. Hoover -- where does Sarah

23       Hoover reside?

24                  A.   Bonney Lake, Washington.

25                  Q.   Okay.    At the property at dispute -- or in

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1                   Q.   It wasn't sold to someone -- was it sold to

2        someone in the Suleiman family?

3                   A.   No.

4                   Q.   Okay.     And what happened with the money that was

5        received from that property sale, from the property in

6        Auburn?

7                   A.   It was split between me and my sisters.

8                   Q.   Okay.     And do you remember how much each of you

9        received, approximately?

10                  A.   Approximately 15,000.

11                  Q.   Okay.     And I remember you said the Kent property

12       was sold in 2017; do you know when the Auburn property was

13       sold?

14                  A.   I don't recall.

15                  Q.   Okay.     Do you remember if it was sold before or

16       after the Kent property?

17                  A.   (Inaudible.)

18                               (Reporter requested clarification.)

19                       THE WITNESS:       You keep freezing.

20                       MR. MOORE:      Yeah, I think we've got an internet

21       connection issue.

22                  Q.   Can you repeat your answer, Mr. Suleiman.

23                  A.   I'm -- well, I said you keep freezing.

24                  Q.   Okay.     So my question was, do you remember if

25       the Auburn property was sold before the Kent property?

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1                   A.   No.

2                   Q.   Okay.    And the Kent property, who resided there?

3                   A.   I was residing there.

4                   Q.   Okay.    And were you residing at the Kent

5        property when it was sold?

6                   A.   I was.

7                   Q.   Okay.    And approximately how long had you

8        resided at that property?

9                   A.   From December of 2005 until August 2017.

10                  Q.   And was there a mortgage on the property?

11                  A.   Yes.

12                  Q.   And do you know who was the borrower under that

13       mortgage?

14                  A.   It was my father.

15                  Q.   Okay.    And who made the mortgage payments on the

16       Kent property?

17                  A.   Up until the time of his death, he did.

18                  Q.   Okay.    Do you know if the Kent property was

19       conveyed to the Ali Suleiman Trust before your father

20       passed away?

21                  A.   The purpose of the trust was exactly for his

22       property, so yes.

23                  Q.   Let me -- let me ask that question differently.

24                       Do you know if there was a written document that

25       conveyed the Kent property to the Ali Suleiman Trust before

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1
                                  C-E-R-T-I-F-I-C-A-T-E
2
3         STATE OF WASHINGTON )
4                             )          ss.
5         COUNTY OF THURSTON )
6
                      I, the undersigned Registered Professional
7         Reporter and Certified Court Reporter, hereby
          certify that the foregoing deposition upon oral
8         examination was taken stenographically before me and
          transcribed under my direction;
 9
10                    That the witness was duly sworn by me,
          pursuant to RCW 5.28.010, to testify truthfully; that the
11        transcript of the deposition is a full, true, and correct
          transcript to the best of my ability; that I am neither
12        attorney for, nor a relative or employee of, any of the
          parties to the action or any attorney or counsel employed
13        by the parties hereto, nor financially interested in its
          outcome.
14
15                    I further certify that in accordance with CR
          30(e), the witness was given the opportunity to examine,
16        read, and sign the deposition, within 30 days, upon its
          completion and submission, unless waiver of signature was
17        indicated in the record.
18
                      IN WITNESS WHEREOF, I have hereunto set
19        my hand this 22nd day of July, 2020.
20
21
22
                    <%8862,Signature%>
23
                    NCRA Registered Professional Reporter
24                  Washington Certified Court Reporter No. 2661
25

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